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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF FLORIDA
                           JACKSONVILLE DIVISION

 THERESE GAMBLE,

          Plaintiff,

 vs.                                            Case No.: 3:20-CV-798-J-39MCR

 UNIVERSITY OF NORTH FLORIDA
 BOARD OF TRUSTEES;

          Defendants.




                       DECLARATION OF THERESE GAMBLE

       I, Therese Gamble, does hereby submit this declaration and states to the

       following:

          1.    I am over eighteen (18) years of age and am competent to testify to the

 matters set forth herein.

         2.     In October 2013, I was diagnosed with severe fibromyalgia, memory

 loss, arthralgias of multiple sights, rheumatoid arthritis, and vertigo. As a result of

 these conditions, I am unable to walk more than two-hundred feet at a time and also

 has difficulty sitting for long periods due to muscle and joint pain. I also have issues

 with brain fog that require me to use written and audio instructions to refresh my

 recollection. My symptoms can be exacerbated during times when I undergo
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 stressful conditions or life events. Sometimes, my symptoms require me to be

 hospitalized when I experience a bad chronic pain episode. Despite the

 difficulties caused by these conditions, I have been able to perform academically

 when I have adequate accommodations.

    3.        In Fall 2015, I enrolled in UNF’s Educational Leadership PhD

 program. At that time, my husband was employed at UNF, which allowed me to

 receive a partial scholarship so long as I maintained a cumulative GPA of 3.0 or

 above.

    4.        Upon enrollment at UNF, I identified myself as a student with a

 disability and received accommodations from UNF’s disability resource center.

    5.        Because my disability causes me to lose focus and suffer chronic pain

 when I am seated for long periods of time, I can sometimes struggle with writing

 assignments. Specifically, if I do not have enough time to proof read and polish my

 writing due to medical treatments and therapies, I can make mistakes with issues

 such as subject verb agreement and capitalization. If I have enough time to work on

 an assignment, I am able to correct these issues. I received good grades for my Fall

 2015 classes, but due to some of the feedback I received from professors regarding

 mistakes in my writing assignments, I decided to go to UNF’s writing center to

 receive tutoring and assistance.


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    6.       During the Spring 2016 semester, I began to experience new problems

 with my condition. At the beginning of the year, I switched physicians, which

 resulted in being prescribed different medications than I was not used to that

 caused a bad reaction. Furthermore, in February 2016, I was hospitalized in the

 emergency room as a result of a chronic pain flare up from my conditions. I also

 received two epidural injections to alleviate my symptoms that semester and

 beyond.

    7.       The difficulties with my symptoms that semester caused me to miss

 several of my classes, including Cultural Social Foundations taught by Professor

 Ali-Khan. At this time, I obtained updated accommodations with the disability

 resource center to include an accommodation for flexible attendance due to her

 disability. However, this accommodation was not included on my list of

 accommodations until Fall 2016.

    8.       I began to struggle in Professor Ali Khan’s course as a result of my

 absences and chronic pain issues with my disabilities. I sought Professor Ali Khan’s

 assistance early on in the semester before any of our papers were graded. Professor

 Ali Khan generally met my requests for assistance and explanations of assignments

 with hostility. When I sought assistance and explanations on my first paper in the

 course, Professor Ali Khan was already telling me that my writing was not at a PhD

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 level. I found her comments strange because, at that point in the course, I had not

 submitted any assignments to be graded by Professor Ali Khan other than one-

 paragraph precis and outlines for my first paper.

    9.         As a result of the issues I had in Professor Ali-Khan’s course, I

 determined that I would not be able to complete my coursework and decided to seek

 a medical withdrawal from that course. Under UNF’s policies students are able to

 receive I submitted a letter from my primary healthcare provider recommending m

 course load be reduced to one course per semester.

    10.        I did not have the same struggles with the other course I took that

 semester, because it only met on Saturdays and the professor had teaching assistants

 available to explain assignments

    11.        After I filed the petition for medical withdrawal, I stopped attending

 Professor Ali Khan’s class and did not submit her second paper, as I felt that my

 absences left me too far behind to complete her coursework and based on my

 understanding of UNF’s policies, I believed that I qualified for a medical

 withdrawal.

    12.        Despite qualifying for a medical withdrawal per UNF’s policies, UNF

 denied my medical withdrawal petition. I was not given a reason for this denial. As

 a result of the denial, I received an F in Professor Ali Khan’s course.

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    13.        My grade in this course forced me to change my academic plans. While

 my doctor advised that I only take one course per semester, I knew that I needed to

 take a higher course load to maintain my academic scholarship. While I also had a

 desire to finish my PhD as early as possible, UNF’s denial of my petition for medical

 withdrawal took away my ability to set the pace for my education, since after that

 point I was always struggling to get my GPA back up.

    14.        On May 10, 2016, I submitted a written complaint to UNF officials that

 I felt their handling of my medical withdrawal violated my rights under the

 Americans with Disabilities Act and Title XI. (Attached as Exhibit A).

    15.        On June 24, 2016, I emailed Professor Ali Khan, the Leadership Chair,

 Dr. Janice Seabrooks, interim program chair, Dr. Christopher Jansen, with a grade

 appeal for Professor Ali Khan’s course. As part of the reason for the grade appeal, I

 cited UNF’s failure to grant me a medical withdrawal and failure to update my

 accommodations in light of my medical developments in Spring 2016. (Attached as

 Exhibit B).

    16.        On August 3, 2016, I submitted a formal grade appeal to the Graduate

 School Dean of UNF. (attached as Exhibit C).

    17.        On August 5, 2016, I revised my grade appeal to include further

 allegations that I was not afforded proper accommodations under UNF’s ADA


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 policy.

    18.       On August 18, 2016, UNF informed me that they were going to hire an

 outside consultant to investigate my complaints regarding their failure to grant my

 request for medical withdrawal. On October 14, 2016, I was interviewed by UNF’s

 outside investigator, Attorney Kristen Dolittle, Esq.

    19.       Around this time, UNF faculty and administrators began to pressure me

 to leave the program. Specifically, the program assigned mentor, Dr. Matthew

 Ohlson met with me. Dr. Ohlson told me that I had very impressive credentials

 already and repeatedly questioned why I needed a PhD.

    20.       During the Fall 2016 Semester, I enrolled in a total of three courses to

 try to raise my GPA. I struggled with one of my courses, taught by Professor Daniel

 Dinsmore. These struggles were due in part to the fact that my father went into

 hospice in November 2016 and passed away in December 2016, during the time I

 was completing my final paper for that class.

    21.       I expressed the difficulties I had as a result of my father’s illness and

 passing to Dr. Dinsmore on several occasions. Eventually, I visited the student

 ombudsman where I was told that UNF allowed students who had experienced the

 death of a close family member to withdraw from a course. I was never told of this

 option by Dr. Dinsmore or any of the educational leadership program faculty.

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    22.         On December 14, 2016, I was notified that UNF was going to grant my

 request for medical withdrawal from Dr. Ali Khan’s Spring 2016 course. I was not

 notified of any findings of Ms. Doolittle’s investigation. Shortly thereafter, I

 received my grades for the Fall 2016 Semester, which included a D in Dr. Dinsmore’s class.

    23.          On January 3, 2017, I received a letter from program director Dr.

 Christopher Janson indicating that UNF was placing me on academic probation. The

 letter informed me that according to UNF policy, any student who receives a grade

 of C or lower could be placed on Academic probation. A student on academic

 probation who does not achieve a grade point average of 3.0 or above the following

 semester or receives a grade of D or F are eligible for dismissal from the program.

    24.         I was surprised to learn this fact, because after my medical withdrawal,

 I had only one grade of C or below— the D I received in Dr. Dinsmore’s class.

 Furthermore, the medical withdrawal raised my GPA to above a 3.0.

    25.         In Spring 2017, I enrolled in four courses because I was told by Dr.

 Christopher Janson and new program chair, Dr. David Hoppey that I needed to raise

 my GPA to get out of academic probation and remain in the program. This course

 load was much more than I could reasonably handle given my health condition and

 mourning the death of my father, and I never would have signed up for four courses

 if I hadn’t been placed on academic probation and been put in fear of being dismissed


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 from the program.

    26.       I ultimately received grades of a C+, a B-,an F in a one-credit course,

 and a D in my course taught, again, by Dr. Dinsmore.

    27.       On May 2, 2017, I emailed several UNF faculty regarding a grade

 appeal in one of my courses. (Attached as Exhibit D). In the email I asked for my

 prior probation notation to be removed from my file because I was granted a medical

 withdrawal from Professor Ali Khan’s class. I never received a response to this

 request.

    28.       That same day, I also sent an email to UNF faculty Dean Jane Kane

 stating that I had been retaliated against during the Spring 2017 semester for

 challenging the university’s decision to deny my request for a medical withdrawal.

 (Attached as Exhibit E).

    29.       The next day, I received a letter from UNF indicating that I would be

 placed on academic suspension.

    30.       On June 7, 2017, I was dismissed from the program.

    31.       As a result of my dismissal, I was unable to continue to pursue my

 doctoral studies, as I had to rely on my spousal scholarship to attend the program.

By the time UNF ultimately corrected my transcript, my husband was no longer

employed at UNF, and I was not able to afford to re-enroll there. Even if I had the

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money to re-enroll, I had severe misgivings about doing so given the treatment I

received there.

    32.       In the summer of 2021, I enrolled in a PhD program at Northcentral

 University. This program has afforded me accommodations for my disability by

 allowing me to set my course load at a pace that I can manage. I am currently taking

 one course at a time far, I have earned an A in the course I took in Summer 2021, a

 B in the course I took in Fall 2021, and thus far I am on track to earning an A in the

 course I am currently enrolled in. (See Northcentral University Transcripts, attached

 as Exhibit F).




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                   EXHIBIT A
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                                          ~
                                         UNF
                                         UNIVERSIT Y of
                                        NORTH FLORIDA.




    Therese Gamble/Student #N00141900



    May 10, 2016

    Dear Therese,

    We regret to inform you that your request for appeal for Medical Withdrawal for Spring 2016
    has been denied. There are no other steps in the appeal process.


(   Thank you.



    Sincerely,
    Candace T. :Jord
    Student J-feaCtfi Coordin ator
    :Jvledica[ Comyfia nce
    1.lnivers ity of :Nortfi :J[orida
    'Pfione: 904-620-2 175
    :Jax: 904-620- 2901




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 Therese W. Gamble
 May 10, 2016

 To: Student Government - Connor

 Grievance Complaint against the Partial Medical Withdrawal Appeal for Spring 2016

 Re: EDF 7635 Cultural/Social Justice Foundation of Education - Prof. Carolyn Ali-Kahn



 Today, after inquiring on the partial medical withdrawal appeal for the above course, after I was
 told I would be notified on May 9, 2016. I received a letter from the Student Health Department
 that my appeal was denied in a letter with no explanation and that I had no other options.

 I am currently registered with the Disability Resource Center at UNF and Dr. Dubberly if very
 much aware of my health condition as well as the updated accommodations that I needed have
 the traumatic changes in my medications.

 In February 2016, I was suffering some usual symptoms from the changes in my medication by
 my new doctors that affected my ability to drive and focus. However, when I did felt better,
 emailed Professor Ali-Kahn to make her aware as well as turning in my assignments.

 In her feedback on my assignments she instructed me to obtain assistance with my writing prior
 and during this illness. I reached out to the writing center to inquiry to obtain the right tutor that
 could help with academic scholarship writing . Due to the delayed response from the writing
 center, I was being told by Professor Ali-Kahn that I would not pass her course .

  Dealing with new medical issues, the existing health issues of Fibromyalgia became
 increasingly hard physically, emotionally, and mentally there is not a cure for Fibromyalgia ..
 had to have my primary care doctor update my medical status with the Disability Resource
 Center as well as informing Dr. Ali-Kahn.

 This denial of my partial medical withdrawal is very disheartening as the first decision due to NO
 reason as well Ms. Doreen in Student Health refuse to accept my supporting documentation the
 first time that resulted in Dr. Malcolm to denied my partial medical withdrawal.

 Now after I submitted over 54 pages of supporting documentation on this appeal it has been
 denied again with no reason or explanation and telling me that there was no other options.

 I have divulged all my personal medical history to multiple of people who do not walk in my
 shoes dealing with the health issues that are very unpredictable . Yet, I am pursuing an
 opportunity to obtain my doctorate degree at an institution that is being advertised as the top
 rank college in the region . My first semester at UNF I earned A's and this last semester I made
 an A in my other class and was issued an "F" in this course. Now, I am on academic probation



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because of my health not being considered a factor why I was unable to successfully complete
this course due to the lack of cooperation and support that was proven with my supporting
documentation for this appeal.



 I did my due diligence as a student and to follow protocol and to be rejected this partial
 withdrawal due to an illness I did not ask for nor want.

 This is unjust and unfair on how the people involved in the process that drop the ball or trying to
 cover up mistakes show me exactly how their actions violate my rights under the laws of the
 ADA - American Disability Act, as well as Title 9. There should be other options available when
 this is my first time applying for a partial medical withdrawal and not to have me accept an "F" in
 a course by a Professor Ali-Kahn who contradicts her beliefs in social diversity and her
 unwillingness to support when asked by me instead she chose to abandon the request and to
 academic fail me for a health episode beyond my control. Thus, I feel Student Health, Student
 Affairs and Academic Affairs supported Professor Ali-Kahn than myself.

 The Medical Withdrawal Process at the University of North Florida with the submission and
 appeal process has proven to make the student (myself) with a severe, incurable illness to have
 an individuals at this institution to make decisions to hinder the student academic goals and hold
 them to blame for a health episode that is beyond my control.



 See attached denial letters

 Therese W. Gamble
 N00141900@ospreys.unf.edu
 (904) 207-1051




                                                                                    UNF/Gamble 001970
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                   EXHIBIT B
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Rachael Long

From:                             Gamble, Therese <n00141900@ospreys.unf.edu>
Sent:                             Friday, June 24, 2016 4:09 PM
To:                               Ali-Khan, Carolyne
Cc:                               Adams-Manning, Andrea; Seabrooks-Blackmore, Janice; Janson, Christopher
Subject:                          Formal Grade Appeal - See attached letter
Attachments:                      Formal Grade Appeal Request EDF 7635 Spring 2016.docx



Good Evening Dr. Ali-Khan,

Please read the attached letter.

Therese W. Gamble, BBA, M.Ed., MBA


Doctor of Education
Program:                                          COEHS-Doctor of Education

LinkedIn:linkedin.com/therese-gamble
Social Media:
Twitter:@ThereseVGamble
Instagram:ThereseVGamble
Facebook: Therese Gamble
Google+:Professortwgamble38
Pinterest: Therese Gamble




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  between 60 and 74) or F (if < 60). If the learner fails to achieve the minimum average of 75% on written examinations,
  other course assignment grades will not be added together and the course grade will be that grade achieved on the
  written examinations.
  Dr. Ali-Kahn the grade scale in the syllabus is a grade point average scale and not the grading scale
  provided in the Graduate School Student Handbook. Therefore, due to no obtaining numerical
  percentage grades on the weekly precis assignments made it impossible for myself to determine what
  my weekly grade was as a student. During the semester, the assigned recommended and required
  readings that a precis assignments had to be completed that was a total of 47 chapters and 33 journals
  that the precis assignments were completed without any grades provided on the assignments, nor on
  blackboards.

  The first and only letter grade I received from you was on the Paper 1 assignment, which was an “F”.
  The reflection essay was addressing your description of the assignments

       “Reflection essays: 30% each (60% total) – p. 7 syllabus

       Reflect on the way that the readings in this half of the course have influenced your understanding
       of your practice. Where do you stand with regard to a few key issues? Why? Connect the readings
       back to your professional experiences and your aspirations as an intellectual and as an educator.
       These responses should be an indication of your understanding and interpretation of the reading
       material that is assigned in the course and should demonstrate your ability to connect readings to
       your professional understandings. You will be graded on your fluency with the ideas and your
       willingness to apply and elaborate on them. Think about these assignments as boiling down to a
       single question: "Why do these ideas matter to what I do, have done or will do?" You will be
       expected to use and connect a minimum of 10 of the assigned readings and to add a minimum of 2
       more scholarly sources from you own research (scholarly sources means peer reviewed academic
       materials such as academic books and published journal articles. While online blogs, Wiki, or other
       web-based content may be interesting, these sources will not count towards the minimum
       required sources for these assignments). 15 pages (excluding refs, cover, and abstract). “



  Despite my severe illness on Feb 11 and Feb 18 class, I emailed Dr.Ali-Khan about my topic and an
  outline for a response/feedback to ensure that I was following the assignment expectations. Therefore,
  when I revised the outline and requested feedback to make sure that I was on task. Dr. Ali-Kahn did not
  offer a second assignment review in any of our email communications. Dr. Ali-Khan email response was
  “that it was too late for any feedback.”

  Due to the lack of feedback provided, I did not have a clear understanding of whether or not I was on
  track with the assignment expectations. In addition, I did not have any basis for the caliber of writing
  that was required due to this being the first assignment graded.

  Therefore, due to no response on Paper 1 assignment from Dr. Ali-Kahn, I reached out to the writing
  center on the following dates to request for a tutor that is familiar with academic scholarship writing on
  December 14, 2015 outlining all the areas that I needed assistance with my writing. Then, I emailed the
  writing center again on February 22, 2016. I did not obtain a response until February 24, 2016 from the
  Director of the Writing Center apologizing for not responding to my email about writing assistance on
  the Paper 1 assignment prior to the due date of the paper Feb 25. I did not hear back from the writing




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  center in time. I emailed Dr. Ali-Kahn to inform her of the difficulty I was experiencing with the
  obtaining assistance from the writing center. As a registered student with the DRC at UNF that
  academic adjustments can be made according to the DRC Student FAQs
  http://www.unf.edu/drc/FAQ_by_Students.aspx
  What are academic adjustments?

  Appropriate academic adjustments create an equal access to education, as long as it doesn't require a substantial
  change in an essential element of the curriculum. This is determined by the institution. Such modifications may
  include an adjustment in the amount of time allowed to complete a degree, substitution of degree requirements, and
  adaptation of the manner in which specific courses are conducted.

  Unfortunately, I had to seek a writing coach outside of UNF to assist me with this assignment to be
  completed before Spring Break. I submitted the assignment prior to Spring Break; however, I was told by
  Dr. Ali-Kahn that I had to wait after Spring Break. (Our class did not meet the week prior to Spring Break)
  Then, I had to wait three weeks to obtain the first graded assignment from Dr. Ali-Kahn.

  Due to being absent for medical reasons on 2/11/16 and 2/18/16, I emailed a classmate on February 22,
  2016 for support because I did not hear from the writing center. I did not receive any response from my
  classmate. Dr. Ali-Kahn on February 26, 2016 two versions of Paper 1 assignment asking for feedback
  and directions and she emailed me back that it was too late for feedback, when Dr. Ali-Kahn was aware
  of my illness that is associated with my disability two weeks prior. I requested to schedule a meeting
  with Dr. Ali-Kahn and Dr. Seabrooks-Blackmore on March 24 to obtain my grade on the Paper 1
  assignment and to hear from Dr. Ali-Kahn the opportunity to redo the assignment for a better grade.
  Yet, Dr. Ali-Kahn did not provide me with any options at that meeting.

  Secondly, the important note in the syllabus states the following:

                                     Important Notes – p. 13 of syllabus
       - Assignments, important notices/updates, grading, and student-to-student communication will be
       taking place via Blackboard. You must be able to access Blackboard and check your University email
       account regularly. If you have questions or problems with Blackboard, contact the ITS Support
       Center at its-support@unf.edu or 620-HELP (4357).



  This section is a syllabus contract violation to me as the student in regards to grading will be taking place
  via Blackboard. In this section Dr. Ali-Khan indicates that grades will be posted on Blackboards
  throughout the semester. I would like to point out that Dr. Ali-Kahn did not post any grades on
  Blackboards during this time. I feel this is a violation of the syllabus.

  Thirdly, Dr. Ali-Kahn was aware I was registered with Disability Resource Center and required
  accommodations. After my two class absences on Feb 11 and Feb 18, I had to update my
  accommodations during the spring semester. Dr. Ali-Khan was provided the updated accommodations
  that I required as a doctoral student.

  Americans with Disabilities Act (ADA) Policy – syllabus p. 14

  The College of Education and Human Services complies with ADA requirements in making reasonable
  accommodations for qualified students with disabilities. Students with disabilities who seek reasonable



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  accommodations in the classroom or other aspects of performing their coursework must first register
  with the UNF Disability Resource Center (DRC) located in Building 57, Room 1500. DRC staff members
  work with students to obtain required documentation of disability and to identify appropriate
  accommodations as required by applicable disability laws including the Americans with Disabilities Act
  (ADA). After receiving all necessary documentation, the DRC staff determines whether a student
  qualifies for services with the DRC and if so, the accommodations the student requires will be
  provided. DRC staff then prepares a letter for the student to provide faculty advising them of approved
  accommodations. For further information, contact the DRC by phone (904) 620-2769, e-mail
  drcexams@unf.edu, or visit the DRC website www.unf.edu/drc

  Dr. Ali-Khan since I provided the updated accommodations from DRC, I did not obtain any options after
  informing you of an unexpected medical procedure on April 7th that had me out of class the following
  week. I submitted my outline for the Paper 2 Assignment as well as obtaining feedback from the writing
  center on my outline but I would not have any feedback on the final assignment before the due date. I
  email Dr. Ali-Kahn on April 17, 2016 to see if I could submit Paper 2 assignment since the term did not
  end until April 29th.

  Dr. Ali-Kahn refused to allow me to submit the paper on April 17th and told me that no classes are
  meeting next week (Thur. 4/21 a week before the term ended) from you on the remaining assignments
  in the course before the term ended on April 29. I had to have an unexpected medical procedure on
  April 7 that had me on bedrest. I emailed you to request an opportunity to submit the Paper 2
  assignment via email on April 17 and you denied my request.
  (that was prior to the semester ending on April 29).


  I am requesting to appeal my grade in your course because of the lack of complying with the University
  Grading Scale as well as failing to post grades on Blackboard during the course. Secondly, after providing
  updated accommodations prior to my unexpected medical procedure to deny submission of the final
  paper on April 21st when the spring term ended on April 29th.

  Dr. Ali-Kahn did not show any hesitation on feedback on my assignments; yet when it came down to
  issuing a letter grade on my assignments I had to wait three weeks for a grade; Our class did not meet
  the week prior to Spring Break; however, when the rest of the class obtains their grades prior to Spring
  Break. Dr. Ali-Kahn never made any effort or attempt to schedule a one-on-one meeting with me
  regarding feedback on writing assignments when I provided notification of the dilemmas I was
  experiences. I know that Dr. Ali-Kahn made exceptions for other students in the course that was not
  registered with the DRC at UNF.

  I had very high expectations of this course; unfortunately, Dr. Ali-Kahn instructional presentation only
  address the negative side of the social injustice issues through theorists and her personal interest. Dr.
  Ali-Kahn did not engage to address the social injustices that were happening locally or inviting other
  organizations on campus that encounter injustices to provide a more insightful experience in the course.

  Finally, Due to the UNF grading scale was not used, the failure of posting grades on Blackboards as
  stated in the syllabus, and lack of academic options after an updated DRC accommodation notice was
  provided. I am requesting to have my grade re-evaluated. In conclusion, I would like my assignments to
  be graded without bias or point deductions for being late.




                                                                                         UNF/Gamble 000655
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                   EXHIBIT C
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                   EXHIBIT D
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Rachael Long
                                             Attorney/Client Privilege




Attachments:                     STUDENT PETITION OF ACADEMIC POLICY FALL 2016 -THERESE V LASTER-WAKEFIELD-
                                 GAMBLE N00141900- DEATH OF FATHER FALL 2016 EDF 7215 PSYCHO SOCIAL
                                 ASPECTS OF LEARNING AND INSTRUCTION -.pdf; UNF - One-Stop Student Services -
                                 Academic Policy and Regulation Petitions.pdf; UNF - Policies & Regulations - 2
                                 Academic Standing.pdf; Re_ lit review proposal clarification feedback on assignment.pdf;
                                 RE_ Literature Review Proposal Paper Feedback - Clarification on Literature Review
                                 Proposal Feedback.pdf; RE_ Requesting Feedback on Literature Review Proposal at your
                                 earliest opportunity_assignment submission notification.pdf; Confirmation of the death
                                 of my Father email.pdf; Daniel Dinsmore (201680.EDF7215 class delay
                                 announcement.pdf; Daniel Dinsmore (201680.EDF7215 class reminder and relocation of
                                 the room.pdf; Daniel Dinsmore (201680.EDF7215 Literature Pilot Study Presentation.pdf;
                                 Daniel Dinsmore (201680.EDF7215 Literature Proposal Assignment Announcement.pdf;
                                 Daniel Dinsmore (201680.EDF7215 Literature Review Proposal Paper Submission
                                 Reminder.pdf; Fall 2016 EDF 7215 PowerPoint- No way to upload in discussion.pdf; Final
                                 Grades for Fall 2016.pdf; Follow up on Literature Pilot Proposal Assignment and
                                 Concept Map assignment communication on assignment reconsideration for a
                                 grade.pdf; RE_ A Humble request to resubmit Literature Review Final Paper.pdf; RE_
                                 Class Attendance Tonight health update and notification of assignment completion.pdf;
                                 Re_ Final Grades for Fall Term 2016 Concerns.pdf; Re_ Inquiry on Grades on Canvas.pdf;
                                 Final Grades for Fall 2016.pdf; Franklin Wakefield Obituary - Hardage-Giddens Funeral
                                 Home _ Jacksonville FL.pdf; FEMA APPLICATION EXP JULY 2017.do; Fall 2016 DRC
                                 Accomodation Letter.pdf
                                            Attorney/Client Privilege




From: Gamble, Therese [mailto:n00141900@ospreys.unf.edu]
Sent: Tuesday, May 02, 2017 2:56 AM
To: Gregg, Elizabeth <liz.gregg@unf.edu>
Cc: Kane, Jennifer <jkane@unf.edu>; Chacinski, Judy <j.chacinski@unf.edu>; Verkerk, Michele <m.verkerk@unf.edu>;
Ohlson, Matthew <matthew.ohlson@unf.edu>
Subject: Notification of submission of an Student Petition of Academic Policy Appeal for Fall 2016 EDF 7215 -Psycho-
Social Aspects of Learning and Instruction

Greetings Dr. Gregg,

                                                           1
                                                                                             UNF/Gamble 000092
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I am emailing you to advised that I will be submitting a Student Petition of Academic Policy Appeal for the
course EDF 7215 Psycho-Social Aspects of Learning and Instruction course that was taught by Dr. Daniel
Dinsmore.

My extenuating circumstance is the immediate death of my Father during this semester and the lack of
advisement that I had the option to do this during the Fall term.

I am attached my request with supporting documentation. However, I will provide the original copies to your
office later today.

I am available to meet during the day between 10 am to 1 pm this week to come to a resolution for me to
continue moving forward in the program.

                 or (904) 564-9505 ext 142

Therese W. Gamble, BBA, M.Ed., MBA


Doctor of Education
Program:                                         COEHS-Doctor of Education

LinkedIn:linkedin.com/therese-gamble
Social Media:
Twitter:@ThereseVGamble
Instagram:ThereseVGamble
Facebook: Therese Gamble
Google+:Professortwgamble38
Pinterest: Therese Gamble

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individual and organizational members raise over $100 billion annually, equivalent to one-third of all charitable giving
in North America and millions more around the world.




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                   EXHIBIT E
     Case 3:20-cv-00798-BJD-MCR Document 38-1 Filed 02/21/22 Page 31 of 36 PageID 930


Rachael Long
                                                Attorney/Client Privilege




From: Hoppey, David
Sent: Wednesday, May 03, 2017 11:14 AM
To: n00141900-forwarded <n00141900@ospreys.unf.edu>; Hoppey, David <n01259176@unf.edu>; Kane, Jennifer
<jkane@unf.edu>; Gregg, Elizabeth <liz.gregg@unf.edu>; Ohlson, Matthew <matthew.ohlson@unf.edu>
Subject: Re: Pre-proposal Feedback

Therese,
We have been waiting for you since 10:30 for the meeting you requested in you email below. We will have to reschedule as
we have meetings all afternoon. We will need to schedule a meeting to discuss your concerns. Please send some times you
can meet over the next few weeks.
Dr Hoppey

David Hoppey, Ph. D
Associate Professor & Director of the Ed. D Program in Educational Leadership,
University of North Florida
College of Education and Human Services
Department of Leadership, School Counseling, & Sport Management
1 UNF Drive, Jacksonville, FL 32224
(904) 620-5326
david.hoppey@unf.edu



UNF           O.JlIrgi tif EduCdtiOft
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                     ^            *


From: "Gamble, Therese" <n00141900@ospreys.unf.edu>
Date: Tuesday, May 2, 2017 at 10:49 PM
To: "Hoppey, David" <n01259176@unf.edu>, "Kane, Jennifer" <jkane@unf.edu>, "Gregg, Elizabeth"
<liz.gregg@unf.edu>, "Yendol-Hoppey, Diane" <diane.yendol-hoppey@unf.edu>, "Ohlson, Matthew"
<matthew.ohlson@unf.edu>
Subject: Re: Pre-proposal Feedback

Dr. Hoppey,
                                                              1
                                                                                               UNF/Gamble 000147
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Seriously, I do not understand what happen this semester with all my professors. The treatment of this pre-
proposal assignment has been horrific for me. This semester has been the first time our cohort was asked to
focus so heavily on our dissertation research study. When I previously asked for guidance on my topic,
because I knew what I wanted to do and study. I am told to slow down it is not a race it is a marathon.

Then you come aboard and have a level of expectation for the students in the program without conducting an
assessment of where we stood in the process.

Despite my health, I stayed up most nights - all night - no sleep that is bad for my health this semester trying
to tackle these new changes and structures of the program. That is why I constantly requested for rubrics of
expectation from all my professors. However, I could get what ask for so I had to do trial and error with
feedback comments only. I shared resources of what would work for me and my disability this semester
(iPlan). Because I can not speak for anyone else but me.

Just like I email Dr. Kane, I truly feel that I am being retaliated against academically because I challenge and
ask questions to clarify policy, procedures, resources and assignment expectations.

I am told one thing but when I am graded on assignments it is something totally different. Suddenly, there is a
made rush for faculty to post grades so faculty members do not have to change grades unless student file
appeals and/or file petitions to overturn grades and policies which is a long drawn out process that can keep
the student (or me) out of the program or not to return altogether.

WE DO need to meet on tomorrow because I have came too far and work to hard to be put out of the ED.D
program. So I will need to meet with all decision makers face -to -face. No more close door meetings about
me without me present.


According to the College of Education and Human Services Strategic Plan: 2005-2010
Action 2.5 The College will devote itself to maintaining a curriculum that will provide students with the knowledge, skills, and
dispositions necessary to prepare them to work with individuals from diverse ethnic, linguistic, and cultural backgrounds,
including persons with disabilities.
        Outcome 2.5a: The College will conduct regular audits of its curriculum to determine focus on diversity and
        multiculturalism.
                 Assessment/Data Sources: Submission of program content matrices to the College's program
                 assessment officer; if necessary, documentation of efforts to create or modify courses to assure
                 that sufficient attention to diversity is included in all academic programs.


How does this strategic plan help me to stay in this program? It is bad enough I was placed on academic
probation on the semester my father passed away and suffer losses during Hurricane Matthew while battling
my health.

Now this semester when I finally get resources to help me academically and my disability. I am targeted and
academically retaliated against just like I told Dr. Kane last semester that was how I felt due to challenge a
prior partial medical withdrawal.

This is a major problem in this program and needs to be fix. I will not be example of this kind of practice by
being academically or administratively removed from the program.


                                                                  2
                                                                                                        UNF/Gamble 000148
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                    EXHIBIT F
       Case 3:20-cv-00798-BJD-MCR Document 38-1 Filed 02/21/22 Page 34 of 36 PageID 933




                                                Northcentral University
                                              11355 N. Torrey Pines Road
                                                  La Jolla, CA 92037

                                    UNOFFICIAL ACADEMIC TRANSCRIPT
ISSUED TO:

Gamble, Therese                                                                   Student Name:            Gamble, Therese
10700 Beach Boulevard, Unit 17575                                                 University ID:           1798684320
Jacksonville, FL 32245                                                            SSN:                     xxx-xx-5612
US                                                                                Birthdate:               1970-11


                                                                                                                 Printed: 12/3/2021


Date         Course Code       Course Title                                   Grade      Credits             Credits      Grade
                                                                              Earned     Attempted           Earned       Points
07/12/2021   EDU-7100          EDU-7100: Effective Communication              A          3                   3            12
09/06/2021   EDU-7150          EDU-7150: Leadership for Improvement           B          3                   3            9
11/01/2021   ED-7014           ED-7014: Practices in School Organization      Current    3                   0            0


                                                                              Credits            GPA         Grade        CGPA
                                                                              Attempted          Credits     Points
Northcentral University Cumulative:                                           6                  6           21.00        3.50

Degrees/Certificates                                                          Transfer       Credits         Program      Program
                                                                              Credits        Earned          Credits      GPA
Doctor of Education                                                           0              6               6            3.50
Specialization: General Education
Degree Conferred: N/A
                                                  *** End of Transcript ***




                                                                                                                         Page 1 of 1
         Case
1/4/22, 9:07 AM   3:20-cv-00798-BJD-MCR       Document
                                 Grades - ED-7014 V2: Practices38-1
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                  ED-7014 V2: Practices in School Organization (2007091796)



   Grades                                                                                                                Print




              Add to ePortfolio


   Final Adjusted Grade

   Points

    95.8 / 100



   Grade

    A




        Grade Item                               Points         Grade    Feedback


        Week 1 -                              9.5 / 10              A    Overall Feedback
        Assignment:                                                      Therese,
        Analyzing
                                                                         I hope your week is going well and thank
        Educational                                                      you for your submission. Please let me
        Processes                                                        know if you have any questions. Dr.
                                                                         Smith



        Week 2 -                                9 / 10              A-   Overall Feedback
        Assignment: Evaluate                                             Therese,
        Educational
                                                                         I hope you are enjoying the week and
        Processes                                                        please let me know if you have any
                                                                         questions. Dr. Smith



        Week 3 -                               10 / 10              A    Overall Feedback
        Assignment: Present                                              Therese,
        to Large Groups
                                                                         Thank you for your efforts on this
                                                                         presentation and please let me know if
https://ncuone.ncu.edu/d2l/lms/grades/my_grades/main.d2l?ou=90562                                                                1/2
         Case
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                                                                          you have any questions. Have a nice
                                                                          Thanksgiving if you celebrate! Dr. Smith



       Week 4 -                               9.7 / 10              A    Overall Feedback
       Assignment:                                                       Therese,
       Analyzing Outside
                                                                         Thank you for the submission and please
       Factors                                                           let me know if you have any questions.



       Week 5 -                               9.2 / 10              A-   Overall Feedback
       Assignment:                                                       Therese,
       Assessing Community
                                                                         Thank you for the submission and I hope
       Resources                                                         your week is going well. Let me know if
                                                                         you have questions. Dr. Smith



       Week 6 -                               9.6 / 10              A    Overall Feedback
       Assignment:                                                       Therese,
       Evaluating Decision-
                                                                         Thank you for the submission and please
       Making Opportunities                                              let me know if you have any questions.
                                                                         Dr. Smith



       Week 7 -                               9.8 / 10              A    Overall Feedback
       Assignment: Social                                                Therese,
       Networking
                                                                         Thank you for your efforts on this
                                                                         assignment and please let me know if you
                                                                         have any questions. Dr. Smith



       Week 8 -                                29 / 30              A    Overall Feedback
       Assignment:                                                       Therese,
       Culminating
                                                                         Happy New Year and it has been a
       Signature Assignment                                              pleasure working with you. Best of luck
                                                                         to you. Dr. Smith




https://ncuone.ncu.edu/d2l/lms/grades/my_grades/main.d2l?ou=90562                                                               2/2
